                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                                                            Case No.:      1:23-cv-24103
ARKADIY LEVIN,
    Plaintiff,

v.

NCL (BAHAMAS) LTD.
d/b/a Norwegian Cruise Line,
       Defendant.
_______________________/

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, ARKADIY LEVIN, and Defendant, NCL (BAHAMAS) LTD. d/b/a Norwegian

Cruise Line, by and through their undersigned counsel, hereby file this Joint Stipulation of

Dismissal of the above-styled action with prejudice. IT IS STIPULATED by and between Plaintiff

and Defendant that all the claims and causes of action between or among the parties have been

amicably resolved, and that all the claims and causes of action between or among the parties are

hereby dismissed with prejudice. Each party shall bear its own costs and attorneys’ fees.

       DATED this 1st day of April 2024.

Vladimir Tsirkin & Associates, P.A.               NCL (Bahamas) Ltd. d/b/a Norwegian
                                                  Cruise Line

/s/ Eugene Mesin                                   /s/ Todd Sussman
Eugene Mesin                                      Todd Sussman
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Attorney for Plaintiff                            Attorney for Defendant




                                              1 of 2
                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed

with the Clerk of the Court for the United States District Court, Southern District of Florida, by

using the CM/ECF system, this 2nd day of April 2024.

                                                         Vladimir Tsirkin & Associates, P.A.

                                                         /s/ Eugene Mesin
                                                         Eugene Mesin, Esq.
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                                              2 of 2
